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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
       v.                                          :       Criminal Action No.: 21-143 (RC)
                                                   :
BENJAMIN HARRY TORRE,                              :
                                                   :
       Defendant.                                  :

                            SENTENCING SCHEDULING ORDER

       It is hereby ORDERED that the following schedule shall govern the sentencing

proceedings in this case:

            1. sentencing in this matter is set for July 7, 2022, at 10:00 am in Courtroom 23A;

            2. the probation officer assigned to this case shall disclose the draft pre-sentence

               investigation report to the parties no later than June 2, 2022;

            3. counsel shall submit objections (if any) to the draft pre-sentence investigation

               report to the probation officer no later than June 16, 2022;

            4. the probation officer shall disclose to the parties and file with the Court the final

               pre-sentence investigation report no later than June 23, 2022; and

            5. any party wishing to submit a memorandum in aid of sentencing must do so no

               later than June 30, 2022, with all responses (if any) due by July 5, 2022, and all

               such memoranda and responses thereto must cite to supporting legal authority.

       SO ORDERED.


Dated: 03/10/2022                                                   RUDOLPH CONTRERAS
                                                                    United States District Judge
